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                            UNITED STATES DISTRICT COURT                                       JUL 0 e    ltlfi\rt
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
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 CANDACE METCALF, PRO SE                                  1:19-cv4623
                    PLAINTIFF,                        )
                                                          Judge Robert W. Gettleman
                                                vs.   )   Magistrate Judge Jeffiey Gole
                                                      )
 WILBUR ROSS,                                         )   Jury Trial Demand: Yes
 DEPARTMENT OF COMMERCE                               )
                                                      )
                    DEFENDANT.                        )




      COMPLAINT OF FEDERAL EMPLOYMENT DISCRIMINATION & RETALIATION



                                           PARTIES
1. Plaintiff, is a muslim woman wearing a headscarf and resident of Cook County, lllinois, and is

a female aged (39), is, and who graduated with a Masters in Sociology Fall of 2018 with a 3.5

GPA, with $140,000+ student loans owed and also holds a Bachelors in Sociology, also having

great recommendations. Plaintiff was briefly employed by the United State Census Bureau

during the relevant time period within this complaint. Plaintiff was employed July 23rd, 2018

through November 2018, approximately 3.75 months. The plaintiff is representing herself (pro

se) in this proceeding. PO BOX 2478, Bridgeview, lL, 60455. (708)789-3691.



2. At all times pertinent, Plaintiffs' previous employer, pursuant to Title Vll of the Civil Rights Act

of 1964 (as amended), 42 U.S.C. sec 2000 (et. seq), the Americans with Disabilities Act of

1990, as codified, 42 U.S. Code sec 12101; 42 U.S.C. sec 12111 to 12117, and sections 501,

504, 505, and 508 of the Rehabilitation Act of 1973; Executive Order(s) 13548, 13078, 13124,




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'13163, 13164: Equal Employment Opportunity Management Directive 715; 29 C.F.R. sec 1615

et seq; the First Amendment-Amendment l; and 5 U.S. Code sec 2302, in violation of the No

Fear Act, and the lnspector General Act of 1978, is the Chicago Census 2020 Decennial Office

of the Census Bureau, a division of the Department of Commerce, has and is seeking to hire

500,000+ qualified employees and the agency only employees 0.097o individuals with targeted

disabilities at the Chicago office. Agency Attorney Chief Paul S. Redpath, US Department of

Commerce, US Census, Office of Civil Rights, 1401 Constitution Ave, N.W., Room C200,

Washington, D.C., 20230. (202)-482-5949. She identified the following individuals as being

responsible for or otherwise involved in the various incidents that comprise her claims:

                   o   Regional Assistant Director: Rosa Estrada in this complaint called "the
                       director''
                   o   Regional Recruiting Coordinator: Alicia Daniels "the supervisor"
                   r   Regional Director: Marilyn Sanders
                   o   RegionalAdministrationCoordinator: Renaldo Nicks
                   o   Other Regional Management Staff: Debra Stanley
                   o   HR Specialist Jodie Wysokie and Linda Buckner
                   o   HR employee Carol Reckamp


Administration, under the Department of Commerce, Wilbur Ross, Secretary.



                                    JURISDICTION AND VENUE

3. This Court has original jurisdiction in this action pursuant to 28 U.S.C. Sections 1331 and

1343 and 42 U.S.C. Section 2000e-5, inasmuch as the matter in controversy is brought

pursuant to Title Vll of the Civil Rights Act   of   1964, 42 U.S.C. Section 2000e et seq. And the

Americans with Disabilities Act of 1990, as codified, 42 U.S. Code sec 12101; 42 U.S.C. sec



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12111   to   12117, and sections 501, 504, 505, and 508 of the Rehabilitation Act          of   1973,

Executive Order(s) 13548, 13078, 13124, 13163, 13164; Equal Employment Opportunity

Management Directive 715,        5 U.S. Code sec 2302, 29 C.F.R. sec1615 et seq, and the
regulations governing federal employees. This District possesses venue of this matter pursuant

to 42 U.S.C. Section 2000e-5(f). The jurisdiction of this Court is invoked to secure protection

and redress deprivation of rights guaranteed by federal law, which rights provide for injunctive

relief and other relief for illegal employment discrimination. The amount in controversy in this

action exceeds the jurisdictional limits of this Court.

                              GEN ERAL FACTUAL ALLEGATIONS

4. Plaintiff filed her second formal complaint on or about December 2018 with the DOC Census

Office of Civil Rights ('EEO") complaint in which she alleged that numerous Agency officials had

subjected her to disparate treatment, a hostile work environment, and retaliation in violations of

Title Vll of the Civil Rights Act of 1964, ADA, and the Rehabilitation Act; because of her religion

(lslam/Muslim) w/ (wearing     a   muslim headscarf) discrimination, and disability discrimination

(PTSD, Anxiety Disorder, and ADHD), and race (white). She also alleged that the Agency failed

to provide her with a reasonable accommodation or engage in the accommodation process for

her disability. On or about April 2018, Plaintiff filed her first notice of retaliation with the EEO

DOC Census Office of Civil Rights during the application process. On or about March 2018,

Plaintiff filed her first notice of discrimination because    of her religion   (lslam/Muslim) and

disability (PTSD) discrimination, and retaliation with the DOC Census Office of Civil Rights.

Plaintiff filed an appeal to combine the complaints on or about December 2018, but Plaintiff has

not received a response. )




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5. On or about October 2018, Plaintiff received the ROI from the first EEO complaint (EEO

Complaint No. 63-2018-00121) and the right to request a hearing     or   for the issuance of a final

agency decision pursuant to 29 CFR Sec. 1614.108(f). Plaintiff was deterred from filing hearing

request due to defendants intimidating plaintiff by calling police October 1Oth, 2018, and

because of Plaintiffs participation in protected activity making reports to the OlG, EEO activity,

and requesting accommodations for disability. November 27th 2018, plaintiff received final

agency decision without hearing which states "We find no violation             of Title Vll or the
Rehabilitation Act with respect to the matters alleged." Plaintiff filed an appeal (EEOC Appeal

No. 2019002419) with the EEOC December 2018. December 2018 Plaintiff filed a second EEO

complaint (Complaint No. 63-2019-00034D). Plaintiff received ROI from the second EEO

complaint June 2019 and the right to request a hearing or for the issuance of a final agency

decision pursuant to 29 CFR Sec. 1614.108(0 the federal agency for issuance of a final agency

decision. Plaintiff has now exhausted the 180 day requirement and can proceed to file a civil suit

in federal court under 29 C.F.R. Sec. 1614.407. Defendant has exhausted administrative
processing, all matters pursuant to 29 CFR Sec. 1614.101 et seq and 29 CFR Sec. 1614.407.



6. Plaintiff filed her original complaint on April 2018, second EEO complaint, and appealfiled in

December 2018. (The Counfs ln fhis complaint are not comprehensive or exhaustive of all

experiences, but iust   a summary of major examples of Plaintiffs experiences and enough to
esfab/tsh   a   prima facie case that outline enough information          to   describe complaint

circumstances.

                                     COUNTI&COUNTII


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       TITLE VII DISCRIMINATION BASED ON RELIGION & ADA DISCRIMINATION


7. As herein alleged, the Defendants, by and through its officers, managing agents and/or its

supervisors, illegally and unjustly subjected Plaintiff to adverse employment terms, applying for

jobs, using web application to apply for jobs, including hiring, job placement, training, pay,

mentoring, promotions, accommodations, work benifits, unjust scrutiny, unwanted harassment,

derisive comments and humiliation, in violation of Title Vll, aforementioned discrimination based

on religion and disability against plaintiff, Agency subjected Plaintiff to (1) disparate treatment

and/or disparate impact; (2) she was subject to adverse employment conditions and actions;

and (3) Herein included this complaint defendants did not comply with equal access of web

applications and web application policies for disabled applicants for employment, for Plaintiff

due to her disability and religion. (4) the all other circumstances surrounding the adverse

employment conditions and actions give rise to inference of discrimination. Defendants had no

legitimate reasons for any such act. Defendants violated each of the following in laws in the

process including Title Vll of the Civil Rights Act of 1964 and the Americans with Disabilities Act

of 1990, as codified, 42 U.S. Code sec 12101; 42 U.S.C. sec    121 11   to 12117; and sections 501,

504, 505, and 508 of the Rehabilitation Act of 1973; the First Amendment-Amendment I and

Executive Order(s) 13548, 13078, 13124, 13163, 13164; Equal Employment Opportunity

Management Directive 715 5 U.S. Code sec 2302.



8. Plaintiff has (3 to 5) years of equivalent research experience, including (2 to 4) years of

supervisory level experience managing 15 to 30 employees at one time, which qualifies Plaintiff

for entry level positions and promotions. Additionally, Plaintiff has a Masters in Sociology, and



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valuable language skills needed to conduct the 2020 Decennial. (1) The plaintiff is an individual

with a disability 'PTSD, Anxiety Disorder, ADHD" that limits at least one or more major life

activities ; (2) plaintiff is a "qualified person with a disability" for the position held and/or desired;

(3) plaintiff can perform the essential functions of the position held and/or desired with or without

proper accommodations.(4) Plaintiff is a musim who is publicly open about her religious identity

due to often wearing a muslim headscarf on and off in public for the past 15 years a right

protected under the First Amendment. Plaintiff has every right to implicit association and the

right to association and belief.




9.   Defendant posted a clerk position "open to the public" in the fall of 2017 position closed to

applicants in December 2017. Plaintiff applied for the positions in Fall of 2017 - Plaintiff near that

time accidentally tagged the HR lady on an email with her graduate institution for a school

grievance that stated Plaintiff had PTSD and was muslim. Plaintiff was emailed by the

defendants HR specialist at the Census acknowledging reading the email. Plaintiff apologized

for the email and requested to be considered for a position due to qualifications. Plaintiff having

applied for the job, was then not considered, or hired for the position, even though they were

hiring 16 schedule A applicants for this position. ln the EEO investigation agency stated they

did not get any qualified applicants during that posting.



10. Defendant reposted the same clerk position in March of 2018, the posting states it is               a

"repost" of the clerk position in question. Defendant was looking to hire (16 to 22+) additional

schedule A clerks for the upcoming 2020 decennial and at least (500,000+) other qualified staff




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members from 2018 through 2020. Plaintiff reapplied for the reposted clerk position and

contacted the defendants HR Specialist to tell her she would like to be considered for the job

posting in which she is well qualified for and apologizing again for the email tag previously. (1)

Plaintiff had difficulty applying using the USAJobs website due to the system not working

properly; (2) Plaintiff explained she applied for the first posting for the position, further asked the

HR Specialist for assistance and then was successful in reapplying for the repost also "open to

the public". Plaintiff was then again not considered, or hired for the position. ln the           EEO

investigation agency stated they did not get any qualified applicants during that posting.



11. Plaintiff then felt she had experienced discrimination based on disability (PTSD) and religion

(lslam/Muslim) and proceeded to file an EEo complaint by phone March 2019.

12. The same night calling and filing the EEO complaint Plaintiff received an email that indicated

the application status had changed. Plaintiff opened USAJobs and noticed the first original

posting was altered from saying "open to the public" to "only for internal applicants". Plaintiff has

video evidence of the posting before and after they altered the posting. Plaintiff also emailed

herself a copy of the original job posting to herself before filing the EEO complaint. (1) The first

job posting that had been closed for several months to new applicants when filing the            EEO

complaint; (2) and the first job posting had been immediately altered after plaintiff filed her EEO

complaint; (3) Plaintiff days after informed the EEO intake counselor that this was "retaliation"

the defendants EEO counselor then stated they have the right to change job postings anytime

they want to and no one would ever know; (4) therefore, the Agency then concluding Plaintiff did

not qualify, because, it was not open to the public. (5) "This policy" of altering a a job posting




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after its closing date, or after disabled individuals file an EEO complaint limits access or

disqualifies disabled applicants, also affecting the plaintiff from applying for jobs online in

violation of the Rehabilitation Act Section 508 of equal access; and is a violation of other laws

included in this complaint, including Title Vll, ADA Law, Rehabilitation Law, and is (a) disparate

treatment; and (b) the policy leads to disparate impact; (6) the action further is capricious and

pretext to cover up said discrimination, and meant to prevent individuals with disability from

equal accessability in applying. ln the EEO investigation agency stated they did not get any

qualified applicants during that posting for both postings. (7) The agency indicated that it only

has 1 individual there that has a targeted health condition (a serious psychological

disability - coded as #91) representing only 0.09% of the total staff in the Chicago RO and

RGC offices, that is 1 out of 111 staff members. This is on the second EEO investigation ROI

file. lndicating their failure to recruit, hire, retain disabiled staff members and indicating their

complete exclusion of disabled applicants in the hiring process.



13. Plaintiff reported to the EEO that agency staff altering the job posting is 'retaliation" for filing

complaint with EEO.



14. Further, Plaintiff was still not considered for the now listed 32 schedule A clerk positions

even though the agency had not identified any other qualified applicants. After filing the EEO

complaint Plaintiff provided the video evidence to the EEO office when filing the formal EEO

complaint. Then Plaintiff was invited to an interview for the clerk position in or about May 2018.

Plaintiff was then hired and started on July 27th,2018. Further, Plaintiff did not drop the EEO




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complaint, because she felt these actions were malfeasance and pernicious in order to coverup

said discrimination. Due to participating in continued EEO activity after Plaintiff was hired,

defendents then subjected her      to prohibited harassment including intimidating plaintiff      with

police for engaging in protected activites, and defendent continued ADA discrimination during

the 3.75 months she worked for defendant. Further in order for defendant to force Plaintiffs

termination. Meanwhile the majority of the 32 clerk positions for the posted positions in which

Plaintiff qualified for were still open to be filled, and while other positions plaintiff qualified for

were still open to be filled,

                                 couNT ill
ADA DISCRIMINATION. FAILURE TO AGGOMMODATE. & REHABILITATION ACT of 1973

15. As herein alleged, the Defendants, by and through its officers, managing agents and/or its

supervisors, illegally subjected Plaintiff   to   prohibited hiring practices, prohibited disability

discrimination, failed to accomidate, failed to continue to participate in the ongoing accomidation

engagement process; by unjustly subjecting her to adverse employment terms, including hiring,

job   placement, training, pay, mentoring, promotions, accommodations, unjust scrutiny,

harassment, derisive comments and humiliation against plaintiff. The Agency (1) failed to

reasonably accommodate Complainant's disabilities;            (2) she was subject to          adverse

employment conditions and actions; (3) the circumstances surrounding the adverse employment

conditions and actions give rise to inference of discrimination; and (4) similarly situated staff

from other religions, races, ethnicities, were not subject to adverse conditions and were treated

more favorably. (5) the agency ignored accommodation request(s) from plaintiff and provided a

fictitious accommodation that did not help plaintiff better do her iob and would not be sufficient

as an accommodation. Defendants had no legitimate reasons for any such act. Each said act of




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disability discrimination is in violation of the Americans with Disabilities Act of 1990, as codified,

42 U.S. Code sec 12101; 42 U.S.C. sec 12111 to 12117, and sections 501, 504, 505, and 508

of the Rehabilitation Act of 1973; the First Amendment-Amendment l, and Executive Order(s)

13548, 13078, 13124, 13163, 13164: Equal Employment Opportunity Management Directive

715, and 5 U.S. Code sec 2302.




16. Plaintiff began her tenure in the 2020 Decennial Census Office on July 23rd,2A18. as the

only muslim and female wearing a muslim headscarf in the office. Plaintiff was also hired on at

the lowest rate for the position in which she was one of the most qualified candidates for the

said clerk positions. She complained about this, the agency also hired all other clerks at higher

rates and with better benifits. Two similarly situated clerks include a hispanic female with equal

education and experience as plaintiff and black man who had lower education attainment and

lower qualifications when hired the same time as Plaintiff. The pay rate complaint was never

resolved or rectified by defendants management staff, but was ignored.



17. During Plaintiffs employment she was subjected to constant inappropriate anti-muslim

sentiments, comments about her       faith,   muslim ctothing, husbands immigration status, and

disability by co-workerslsupervisors, snide remarks, frequent reprimands, being excluded from

group activities and trainings, not being provided a job description or policy manuals. Plaintiff

was treated poorly besides receiving less pay than other clerks, received less training and was

not provided mentorship, plaintiff was not treated as well as similarly situated staff, subjected to

adverse terms of employment, hiring, promotions, merit raises/bonuses, access to benefit




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programs e.g. EAp program access and have severely disadvantaged Plaintiff compared to

similarly situated employees that received systematically better treatment; Plaintiff did

repeatedly complain about conditions and actions. Management never address or changed

these conditions, defendant management prevented plaintiff from having equal opportunity
                                                                                         in


terms of employment.



                                                                                           position
1g. Without informing plaintiff prior to her first day, plaintiff had been placed in a new
,'recruiting clerk" not the position applied for on her first day July 23rd, 2018; (1) and was not

provided a job description. (2) plaintiff asked multiple times why she was in the recruiting clerk

position but none of the managers replied to Plaintiffs questions, Plaintiff requested it finally

from HRD in Washington DC that it was finally provided to her on or after October 19th, 2018;

(3) and also plaintiff made reoeated requests for medical accommodation for "task training that
include written and verbal instructions" and "to not be reprimanded unne.cessarily" to avoid

having disability related symptoms being triggered and exacerbated. These requests were

ignored. (4) plaintiff was not provided employment benifits information but told to figure out how

to apply for health insurance on her own. (5) Plaintiff had to research on her own how to get the

health insurance while she asked management staff how to sign up, they refused to show her,

Staff stating "it's not her job to and that the director believes in new hires having the ability to

find out that on their own that staff should not tell you because you should be able to do it on

your own". (6) Plaintiff did research it and after 2 months finally got health insurance with the

 Census. (7) Since defendants never provided plaintiff with any job description or training for

 recruiting clerk after starting the position   and plaintiff had no idea what her job description was




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or "essential functions" for her job. On October 19th when she finally got her job description

Plaintiff learned the job description doesn't match the job she was placed in the position applied

for either, nor was plaintiff assigned any of the task in her job description.




19. Plaintiff made her first request for medical accommodation late in around September 2018

after not receiving any "recruiting trainings" or "task related training" for the "recruiting clerk"

position. Plaintiff only received some orientation trainings in her first week at the Census.

Plaintiff made this request due after having some barriers to completing her job tasks at her best

ability due to a) being reprimanded repeatedly triggered her symptoms on multiple occasions

making it harder to complete work tasks and causing plaintiff difficult symptoms that interfered

with doing the tasks, b) Plaintiff was being reprimanded frequently by management for not

completing work as verbally asked, management staff never provided any training on these

tasks, nor did they provide clear written instructions for the tasks,            c)   plaintiff wanted

accommodation     to bypass reprimands that higger       disability related symptoms and d) this

accommodation would make it so plaintiff could do a better job at completing required tasks for

her job, thus also   it would eliminate their need to reprimanded plaintiff. e) Plaintiff when
reprimanded would have disability symptoms triggered causing an increase in symptoms, wi

somatic and cognitive issues, that would also hender the Plaintiff from doing her best at the job.

f) Verbal requests made to defendants management whom entirely ignored her requests from

September through forced resignation "to not be reprimanded unnecessarily" and to "provide

task training with written and verbal instructions" by management staff. g) These frequent

reprimands increased in severity for menial tasks and items after making an official request for




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accommodation,      this adverse treatment lead to plaintiff missing many days of              work.

Management staff then increasingly reprimanded plaintiff without any regard for the Plaintiffs

well being making the plaintiff more ill, losing days of work and income, losing out on a positive

work experience and more opportunities, missing work on top of making it hard to do her work.

Other staff was not subjected to these reprimands for very minor issues. h) Plaintiff complained

about this to defendants agency staff who did not investigate it nor was anything done. i)

Plaintiffs request for accommodation further ignored.



20. Plaintiff the end of September through termination had made repeated requests               both

vaguely and clearly with (1) verbal requests and (2)           in written   requests   for   medical

accommodation for management to "stop reprimanding her unnecessarily" and to provide clear

"task training with written and verbal instructions" for her assigned work tasks, "t!.nng_ffi.f

medical necessity for treatment and breaks when having symptoms", ALL request were ignored

from September 2018 till forced resignation November 2018. Plaintiff believes managers

deliberately subjected her to adverse conditions in order to harass her, in order to exasperate

disability symptoms and deliberately never provided accommodation requested, and ultimately

deny plaintiff from equal access to employment enjoyed by other staff members who do not

have disabilities and are not muslim. And to force plaintiff to quit her job thus subjecting her to

forced discharge.



21. Defendant rather than provide accommodation as plaintiff requested, defended decided to

(1) moved Plaintiff to an isolated location in the office October 29th, 2018, located in the




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"Geography" portion of the office and (2) removed all her assigned work tasks, (3) this is without

any collaboration with Plaintiff or (4) without proper evaluation of Plaintiffs ability to perform the

"essential functions" for the "10 to 30 tasks per day" plaintiff was performing prior to October

29th, 2019. And nor was an evaluation done for the "essential functions" listed in the job

description. (5) Before October 29th, 2018, Plaintiff worked on average 10 to 30 tasks per day in

the recruiting clerk position, (6) they took all assigned tasks away and replaced them it with only

'ONE' task that took "five minutes" to complete every day. Defendants also (7) provided a white

noise machine only and called this accommodation. The accommodation not provided by

defendant include   (8)   "not to be reprimanded unnecessarily", (9) "to provide task training with

clear written and verbal instructions", (10) "time off for me.dical necessity. and for breaks for

symptoms" were never provided. After October 29th, 2018, only on one other time Plaintiff was

shown how to update a database, but was only given the task one time ever and it took "one

hou/'. The accommodation requested by plaintiff (11) did not ask for her workload to be reduced

or dramatically decreased, (12) these actions therefore are not an accommodation and are a

failure to provide accommodation. Further, (13) they did not discuss the decision to remove the

work tasks with Plaintiff, nor explain this decision to remove her from all hertasks. (14) Plaintiff

immediately complained about this "accommodation" to the Deciding Official and the HR (15)

who ignored the repeated complaints about the accommodation. (16) Other staff did not have all

their tasks taken away but were given so much work they were not getting breaks as reported to

Plaintiff by clerk named Lillie. (17) The management continued to reprimand Plaintiff on October

31st, Novemebr 1st, and November 6th, even though she had all her tasks taken away. (1S) On

or about October 17th t here was a mandatory training for DAAPS refresher trainings all clerks




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where plaintiff was sent the email to attend, which plaintiff attended the first day but was pulled

out the second day and the managers tried to take away her manual stating they had better

things for her to do. Then the director sent her to her desk not providing her any work to do

other than to escort the cleaning lady for half an hour. All other clerks were allowed to attend.

(19) Accommodations they stated they provided did not help plaintiff better do her job tasks nor

d!d-j! breok the barriers to doing those tasks but created more problems. Taking away all work

assignments and not replacing it with anything is not an accommodation.



22. After October 29th, 2018 management moved Plaintiff to geography and                   Plaintiff

complained about work conditions and the accommodation they provided, which complaints

were never rectified by Census staff. Plaintiff continually asked questions about why she had

her tasks taken away, she was still not provided task training with clear "written and verbal

instructions" for her previous task workload or for the job description received October 19th, as

requested for an accommodation and did not receive but only "ONE" new task that takes five

minutes a day to complete assigned tasks. Moreover she was still being excluded from task

trainings and work other clerks received. Plaintiff still received reprimands that triggered her

symptoms. Plaintiff sat there her whole shift without any work tasks assigned the whole day, all

day, everyday, after October 29th, 2018, even when she asked for tasks she was ignored.

Again this is not an accommodation but failure to accommodate and meant to segregate plaintiff

and prevent plaintiff from equal opportunities to work. No other staff members was subjected to

this treatment.




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 23. After October 29th, 2018, Plaintiff was segregated to the geography area away from

 management and other clerks, so Plaintiff asked if she was able to sit in other quiet areas in the

 office, to do work on tasks she previously did when working on some tasks and defendants

 management response was "no, the accommodation is to stay in the geography area". The

 geography area is hidden in the office and far away from other clerks, and makes it easier to

 exclude plaintiff from trainings and projects other clerks worked on. At the same time, there

 were still many job openings, including clerk positions and higher level positions which Plaintiff

 qualified for, Plaintiff was still not provided trainings for recruiting tasks, nor provided mentoring

 like other clerks who got promotions in the same time frame Plaintiff worked there. Other clerks

 did not face the same issues but could move freely and sit anywhere in the office.



 24. Clerks hired at or about the same time received training and mentoring from the directors;

 and were promoted in three months of their hire date from clerks to regional technicians a pay

 difference from $36,000 to $90,000 per year. A hispanic female had equal qualifications as

 Plaintiff and a black man who had lower qualifications. Plaintiff on the other hand was told that

 she did not qualify for these higher level positions and told they would not consider her for

 promotions and management still did not answer her question related to her higher salary rate,

 the plaintiff which was being paid the lowest rate for the clerk position in comparison to other

 clerks even being more qualified than most other clerks. Nor was she given opportunity to also

 be mentored and promoted like others, but rather excluded entirely.




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25. When moving Plaintiff to the geography area management also removed Plaintiff from

access to the phone lines in recruiting and geography, shared drives, and took away her second

monitor after moving Plaintiff to the geography area. They fixed the phone when plaintiff

complained but it only let plaintiff call out and did not allow for incoming calls, where as before

October 29th, 2018 plaintiff was accepting hundreds of phone calls and making hundreds of

calls. They never provided her with her second computer screen they took away, after the

complaint, and never restored her access to the drive. Other clerks did not have their second

monitors taken away, nor were they removed from all the drives and phone lines.



26. Prior to October 29th, 2018, Plaintiff worked on 10 to 30 tasks per day with            minimal

problems; it was only when being reprimanded that symptoms were exasperated and that

interfered with Plaintiffs work product, so it was not necessary to take away plaintiffs work tasks

at all even if they moved her to a quiet area, the previous "geography clerk" that previously

working from geography also worked on tasks from all areas including recruiting tasks with

access to the recruiting drive and the recruiting phone line, she was allowed to move to sit in

other areas to do work related tasks. Whereas Plaintiff adversely affected by this action of them

taking away her work tasks. Plaintiff prior to October 29th,2018, also worked on tasks while

sitting in other areas on occasion including the Admin area and Area Field Management area.

There were multiple locations where there was quite work space near to recruiting, "geography

is as far away as you can get from recruiting" as one manager stated in her investigation

response. There was (1) no explanation as to why Plaintiffs ability to move to other areas and sit

in other quiet areas was then being restricted; (2) there was no evaluation of Plaintiffs ability to




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perform the prior tasks or essential functions in order for management to take her tasks away.

(3) Prior to their decision Plaintiff was not informed they would be taking away all her work

tasks and it was not communicated that she would have her tasks taken away at any point in

time and was not informed they would not be replaced with any new tasks. (4) Plaintiff views

this as continued harrassment, discrimination, and a form of retaliation. (5) Retaliation for

engaging in protected activities. (6) This is a failure to engage in the accommodation process,

failure to accommodate, andior denial of accommodation. (7) Plaintiff then complained to other

staff along besides management about working conditions, harassment, and the faux
accommodation. (8) management then gave plaintiff a negative performance review and

threatened plaintiff with taking action against plaintiff.



27. On November 6th, 2018, complaints about her "faux accomidation" were still ingnored and

not corrected after 7 days of the accomidation nor did management provided any comments; so

Plaintiff called the EEO office to file complaint that she had not received an adequate

accommodation and        to   complain about adverse conditions       of   continued discrimination,

workplace hostility, and retaliation. After the call Defendant immediately subjected Plaintiff to

retaliation (1) the director called plaintiff on the phone to demand in a hostile fone, that Plaintiff

come to her office to see her, (2) Plaintiff was having anxiety symptoms after speaking with the

EEO office, plaintiff then requested to take a break instead stating now is not a good time due to

symptoms, (3) the director stated Plaintiff was not listening and following direct orders and

further chastised Plaintiff stating she only gets two fifteen minutes breaks a day. (4) This was a

refusal and denying accommodation that was approved "to receive necess




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svmptoms". (5) Plaintiff had to call the HR department staff named Melissa to ask her to call

and explain the accommodation approved to the director again, in order to ask for the break. (6)

The HR staff member told Plaintiff to go ahead a take a break. (7) Then the director emailed the

Plaintiff, the EEO officer, and the HR staff member stating she is already accommodating the

plaintiff and had called plaintiff only to give her a copy of her orientation training schedule from

July 2018 when she started. (8) The files attached were never presented to Plaintiff before and

was black, the file was a blank training schedule. (9) Further, she ignored complaints about the

accommodation she had provided and did not take action to correct the circumstances.



28. Plaintiff sought to see the EAP November 8th and 13th, 2018. (1) After the                  EAP

appointment   on November 8th, 2018 Plaintiff then ask director if she could get a              new

accommodation to "working remotely" due to not feeling safe at work due to the hostile work

experiences, on October 1Oth management called police on plaintiff to intimidate her and the

continued reprimands triggering Plaintiffs symptoms. (2) This request was ignored by

defendants   staff. Plaintiff was fearful due to being subjected too frequent reprimands         and

hostile treatment from October 3rd, 2018 through November 6th, 2018. (3) ln retaliation the

director would not allow the plaintiff to see the EAP on November 13th stating Plaintiff should go

on her own time,(4) further the director stopped all communication with Plaintiff regarding the

EAP after Plaintiff asked a few times more to go to her second EAP appointment. (5) ln

retaliation the accommodation previously approved was now being denied by defendant by not

allow[ng Plaintiff time off for medical necessity. (6) Director denied plaintiff to go multiple times

when plaintiff requested to go on November 13th, 2018.




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29. (1) The director never responded to and ignored plaintiffs questions or complaints related to

("the accommodation") after October 29th, 2018 and even after the EEO complaint filed on

November 6th, 2018.    (2) After November 8th, 2018 Plaintiff requested a new accommodation,

and the director ignored request for accommodation to work from home in a remote position

when Plaintiff felt unsafe to working in a hostile environment when police were being called on

her, and (3) they forced plaintiff to quite by ignoring her and cutting off all communication with

plaintiff, (4) while they had thousands of positions were still available which plaintiff qualifies

for.(S) At this time during November 8th, 2018 until plaintiff left job, defendants managers never

address the issue that made plaintiff feel unsafe at work when "police" were being called to the

office on October 1Oth, 2018, defendent did not attempt to address this with plaintiff, nor did she

report it to HR or higher level management that plaintiff felt unsafe for police being called to the

office.




30. Further, (1) after November 13,2018, the defendants staff, management, and director

stopped all communication with Plaintiff and never spoke to her again during her time working

there rather than making any attempt to resolve complaints about the accommodation and

address police being called to the office, (2) essentially this action is to subjecting Plaintiff be

afraid at work and to constructive discharge. (3) Defendants management did not attempt to

save the employment relationship or to continue the accommodation engagement process, nor

did they comment or communicate or answer complaints or questions related to receive

accommodations or alleged related conditions, (4) no investigation was conducted by HR due to




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the complaints about accommodation or alleged related conditions or harassment, and (S) there

was no attempt by defendants staff to continue engaging in the ongoing accommodation
process. (6) These actions infer failure to engage in the interactive engagement process

required by law. (7) These adverse conditions interfere with plaintiffs right to equal work under

the law stated in this complaint.

                                  COUNT IV
     PROHIBITED DISCRIMINATION/HOSTILE WORK ENVIRONMENT . HARASSMENT

31. As herein alleged, the Defendants, by and through its officers, managing agents and/or its

supervisors, subjected Plaintiff    to   prohibited discrimination and harassment        by   unjustly

subjecting her to adverse employment terms, including hiring, job placement, training, pay,

mentoring, promotions, unjust scrutiny, harassment, derisive comments and humiliation against

plaintiff (1) she was subject       to   adverse employment conditions and actions; (2) the

circumstances surrounding the adverse employment conditions and actions give rise to

inference of discrimination; (3) plaintiff was subject to unwelcome conduct; (4) the harassment

had the purpose or effect of unreasonably interfering with her work performance and/or created

an intimidating, hostil, or offensive work environment; (5) similarly situated staff were not subject

to adverse conditions and were treated more favorably; and (6) there is a basis for         imputing

liability to the employer. Defendants had no legitimate reasons for any such act. Each said act

of prohibited discrimination andlor harassment and is in violation of Title Vll of the Civil Rights

Act of 1964 and the Americans with Disabilities Act of 1990, as codified, 42 U.S.              Code

sec12101; 42 U.S.C. sec 12111         to   12117, and sections 501, 504, 505, and 508 of the

Rehabilitation Act of 1973; the First Amendment-Amendment l, and Executive Order(s) 13548,




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13078, 13124, 13163, 13164; Equal Employment Opportunity Management Directive 715,5

U.S. Code sec 2302, in violation of the No Fear Act and the Office of lnspector General Act.




32. Protected activities plaintiff engaged in was also was (1) requesting              a   medical

accommodation, (2) engaging in EEO activities and (3) reporting prohibited practices. From

September 2018 through forced termination. (4) Other clerks without dsiability and that were not

muslim received mentoring, promotions, raises, were not subject to harassment, reprimands,

segregation or exclusion as plaintiff was. (5) The new clerk that was to replace plaintiff made a

facebook video to harass plaintiff was not disciplined for his actions and management ignored

complaints by plaintiff when reporting such action, video is still up nearly 7 months later, he is

still employed there while plaintiff was forced to quit her job. The supervisor stated in the EEO

investigation he no longer works at the agency but his linkedin page states he is still working

there.




33. Unwelcome comments and conduct include on 9/11 by management staff that never spoke

to Plaintiff; management said, "they were upset about all the lives lost on 9/11" this was one of

the only times this manager spoke to plaintiff. Carol an employee of 6 years and assistant to the

director made multiple statements about plaintiffs faith and clothing; Carol said " she felt sorry

for women in headscarves"n "that immigrants are invading this country, they need to go home",

"where is your husband from, why did he come to the USA?", "do you go to the mosque",

"where do you go to the mosque", "you will have to support your husband since he is disabled",

" people should not be hired at the census if they cannot read", "we   hide job postings on USA




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jobs to avoid hiring the wrong people", "Mrs. Sanders will not provide an accommodation for a

disability", "the newspaper job tasks are meant to be soul crushing", "the census is where

people come to end their careers", " religious people are pedophiles", "we hide job postings

because we would have to hire all veterans and they have PTSD and are crazy".



34. (1) October 3rd - Reprimand- Days after asking for a medical accommodation, defendants

managers engaged in reprimanding Plaintiff in front of other staff, questioned why Plaintiff has

PTSD, told Plaintiff that she has an attitude and that she does not need an accommodation and

further warned Plaintiff to stop asking about an update about her accommodation request. This

resulted in flairing Plaintiffs PTSD symptoms making her cry in front of everyone, and making

her miss several days of work afterwards due to PTSD symptoms. (2) October gth- Defendants

Manager again reprimanded Plaintiff in front of staff for using her desk phone for 15 minutes on

her lunch break for a personal call when her cell phone was dead, this was the first time using

the office phone for something personal, plaintiff never was provided rules, but other staff were

allowed to use their desk phones for personal matters. Plaintiff requested a policy manual and

list of rules to avoid problems in the future, a policy manual was never provided. (3) October

9th- Plaintiff was informed she would be replaced by a new hired clerk, after plaintiff missed

several days from PTSD symptoms after the reprimand on October 3rd. Plaintiff was then left of

the organizational chart developed on October sth, 2018 and the new clerk was added before

his first day. (a) Plaintiff views the harassment as an attempt to force termination and retaliation

for engaging in protected activities.




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35. October {0th 2018 - This week was the deadline for Plaintiff to file a lawsuit on her first

EEO complaint. Plaintiff entered the office on time for her tour of duty between 8 am to 8:30 am,

when Plaintiff walked up to her desk and before she could take off her coat, her supervisor

asked her if Plaintiff had a report ready for her in a harsh tone. Plaintiff had not been asked to

prepare any reports for this morning. Further,the supervisor reprimanded Plaintiff for not having

the report. Once Plaintiff was able to log onto her computer she contacted the HRD to follow-up

on her accommodation request and tagged the supervisor and director on the email. A few

hours afterwards the same day the director escorted a police officer into the office and walked

by Plaintiff, while walking by Plaintiffs supervisor ran over to join the director escorting the

police officer to her office, while walking by the director pointed Plaintiff out to the police officer

who looked Plaintiff up and down while walking by. A nearby staff member was shaking

nervously when she was looking at Plaintiff after seeing the police officer escorted into the

director's office. (Plaintiff believes this is harassment to desuad plaintiff from engaging in

protected activities). Plaintiff had not been provided a policy book or information where to report

prohibited harassment, so she reported this incident to HR staff members , OlG, EEO staff,the

EAP, and OCR at the DOC/Census by phone and emails. Plaintiff also complained to the

director about this. Further, this complaint was ignored resulting in Plaintiff to fear for her life and

making her feel unsafe at work. (1) plaintiff reported these events and no one investigated them

(2) complaints were ignored. FACT: The second ROI for the second EEO complaint
defendants manager who was involved states Plaintiff never complained about potice

being called on her, however there are multiple emails addressing this issue sent by




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plaintiff. Defendant manager even submitted evidence to the EEO investigator that

admitted she knew plaintiff was complaining about police being called.



36. (1) October 22 - The Administrative manager walks by the recruiting area and states that if

someone doesn't want to work for the Census they know where USAJobs is at, Plaintiffs

supervisor shakes head and looks at Plaintiff. Plaintiff reported this to the director who never

followed-up with a response to plaintiff about the incident. During the EEO investigation director

states she did follow up with the administrative manager and confirmed he did state this,

however, she never followed-up with Plaintiff after the incident. (2) Further, Octobe   r   17- 23rd

there was DAAPS refresher training, Plaintiff was to attend this training, emails were sent to

Plaintiff stating it was mandatory and it was mandatory for all clerks, Plaintiff was included the

first day, the second day Plaintiff was pulled out by defendants managers who then excluded

Plaintiff, and they tried to take her DMPS manual away, and she was sent to her desk and not

given any work to do that day other than escorting the cleaning lady. (3) From October 17

through November 11th, all clerks worked on DAAPS in interviewing and hiring RA's, plaintiff

was further excluded even after being moved to the geography department and was not given

any tasks to do while all other clerks were included.



37. November 13th - Plaintiff sought to see EAP (1) November 8th Plaintiff was allowed to see

the EAP during her tour of duty, she had requested to see the EAP again November 13th, 2018.

(2) Between November 8th and November 13th Plaintiff had requested the director to provide a

new accommodation due to not feeling safe at work. (3) ln retaliation, on the morning of




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November 13th, 2018, defendants director refused           to let Plaintiff go to her second EAP
appointment. (4) Plaintiff had no work assignments other than one assignment that takes 5

minutes per day and had time to go. (6) The director, then stated Plaintiff could not attend EAP

via email stating she needed to go on her own time. Plaintiff responded stating the EAP in only

open during office hours and during her tour of duty only, (7) further the director, refused plaintiff

to go to the EAP by stopping correspondence with Plaintiff and sending a verbal messenger to

tell her "no, she could not go". (8) After this the director stopped all forms of communication with

Plaintiff for any reason and never corresponded with Plaintiff again during the rest of Plaintiffs

employment with the Census. (9) Defendent also never spoke to plaintiff again about request for

accommodation to work "remotely" due to safety concerns at work. (10) Plaintiff believes this is

retaliation, continued discrimintion, forced termination, and failure            to   engage   in   the

accommodation process due to plaintiff engaging in protected activities.    .




38. Other forms of harassment -

Organizational chart - Plaintiff was completely left off the organizational chart October sth 2019,

she reported this to supervisors and no one ever responded to her. Her replacement was on the

chart even though it was his first day of work. He was hired to replace Plaintiff rather than

provide Plaintiff requested accommodations.

   a. Job description    - Plaintiff requested a job description and never received on until the end

       of October. Plaintiff had not known what were her jobs essential functions even if she

       wanted to make      a more detailed    accommodation request. Plaintiff was moved from




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        recruiting days afterwards and was never provided      a new job description in the new
        area.

   b.   Newsletter - Plaintiff had her bio changed she submitted to be put in the newsletter, that

        took off her federal experience and by switching her graduate and undergraduate

        institutions.

   c.   Facebook posting    - a staff member who posted a facebook and instagram video in
        harassment of Plaintiff complaining about harassment and filing an EEO complaint.

        Plaintiff reported this video to the director who did not do anything about the harassment.



39. Other fact: Agency staff, directors, and management did not report complaints of

harassment made by Plaintiff to higher management or HR, that stated agency managers

called police on her in the office October 10th, 2018. Further, there were no investigation

to address plaintiffs concerns, making Plaintiff feel fearful for her safety at work, further

this was to interfere with plaintiffs ability to do her job. Management used the police to

intimidate plaintiff    for participating engaging in protected activities. There is direct
evidence for this.



40. Prohibited harrasment and retaliation (1) Plaintiff complained by email October 31st to three

co-workers about discrimination, harrasment and the police being called on her and stated she

was engaging in protected EEO activities. The new clerk shared this email with management.

(2) October 31st management gives Plaintiff a negative performance review,                  plaintiff

complained to the director about the review and (3) November 1st, the director emailed Plaintiff




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threatening taking actions against plaintiff for talking about her "participating in protected

activities". (4) November 6th, 2018 a staff member who defendant stated was hired to replace

plaintiffs job in recruiting rather than provide her accommodation, engaged Plaintiff to ask

Plaintiff about her experiences and her EEO complaint resulting in the staff member further

harassing the Plaintiff by making      a facebook and instagram video talking about Plaintiffs
complaint that is "open to the public and shows up on other staffls facebook". (5) Plaintiff seen

this as inappropriate and harassment and reported this to the director. (6)The director never

responded to Plaintiffs complaints, nor did any investigation, it is still online even months after

no longer working there. (7) The director stated to the EEO investigator that she had not known

about the video, however, Plaintiff had sent her emails reporting it to her. (8) Rosa Estrada also

did not report that Plaintiff complained about police being called on her to her superiors or to

HR. (9) No investigations were ever done on these items listed.

                                         COUNT V
                                PROH IBITED RETALIATION
41. As herein alleged, the Defendants, by and through its officers, managing agents and/or its

supervisors, illegally retaliated against Plaintiff      by unjustly subjecting her to        adverse

employment terms, including hiring, job placement, training, pay, mentoring, promotions, unjust

scrutiny, harassment, derisive comments and humiliation, solely because she had reported the

aforementioned discrimination based on religion and disability, prohibited hiring practices, and

prohibited harassment against plaintiff (1) she was subject to adverse employment conditions

and actions; and (2) the circumstances surrounding the adverse employment conditions and

actions give rise to inference of discrimination and retaliation. Defendants had no legitimate

reasons for any such act. Each said act of retaliation is in violation of Title Vll of the Civil Rights




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Act of 1964 and the Americans with Disabilities Act of 1990, as codified, 42 U.S. Code

sec12101; 42 U.S.C. sec 12111          lo   12117, and sections 501, 504, 505, and 508 of the

Rehabilitation Act of 1973; the First Amendment-Amendment l, and Executive Order(s) 13548,

13078, 13124, 13163, 13164; Equal Employment Opportunity Management Directive 715, 5

U.S. Code sec 2302, in violation of the No Fear Act and the Office of lnspector General Act.




42. The accommodation provided was inferencing retaliation (1) Plaintiff requested an

accommodation at the end of September 2018 and formally the beginning of October 2018 to

HRD. (2) On October 29th, 2018 Plaintiff was informed that her request had been approved but

they changed it to something different than what was requested by plaintiff that would not (a)

help plaintiff better perform her job and eliminate barriers to doing her job (3) Plaintiff was told to

clean her desk and move to geography where she would now sit in an isolated area and not

allowed to sit in other areas that are also quite. (4) No other information was provided to Plaintiff

about the accommodation, her job duties or any changes to her job duties, she was further

taken off the phone lines both in recruiting and in geography, removed from the cloud drives in

recruiting, and she had all her work tasks (10 to 30) taken away and was given one single task

that takes five minutes per day. (5) Plaintiff complained repeatedly about this "accommodation"

and stated "it is not an   accomm            to take away all of the work tasks and place Plaintiff in

a hidden area in the office and to further not provide requested task training and to continue to

exclude Plaintiff from task or project training to the director who was the deciding official and the

EEO office throughout the rest of Plaintiffs employment with the Census, this complaint was

ignored. (6) Further, no evaluation was done of the ability of plaintiff to do the "essential




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functions" of her job prior to see if plaintiff should have task taken away. (7) Plaintiff had never

been assigned her tasks after again October 29th, 2018, besides sending one email report an

activity that takes only 5 minutes to fullfill. (8) Plaintiff believes this is retaliation for engaging in

protected activities.



43. October 31st, 2A18, two days after moving plaintiff, (1) defendants management called

Plaintiff over   to her area in recruiting to do a         performance evaluation, (2) defendants

management did this in person in order to trigger plaintiffs disability symptoms rather than email

it, (3) she gave        Plaintiff   a   negative evaluation based on items Plaintiff requested an

accommodation for, (4) she refused to let Plaintiff read it or to take a copy. (6) Defendants

management never emailed a copy to plaintiff and (7) Plaintiff had to continually request a copy

of this. (8) Plaintiff was finally given a copy of this after multiple requests, but defendants

management delivered the performance review in person even though it was very far from her

area on November 16th, 2018, again triggering her disability symptoms, rather than email it. (9)

Plaintiff felt this reprimand done verbally and was meant to be retaliatory and hostile as

management did      it in person knowing it would impact Plaintiffs PTSD symptoms, she could
have very well emailed it easily rather than to do it like this. (10) But rather she never emailed it.

Plaintiff complained to the director who did not take any action or investigate complaints. (11)

This action demonstrates retaliation for Plaintiff engaging in protected activities.



44. (1) November 1st and 2nd, Plaintiff          missed work due to the reprimands by management

that triggered her PTSD, (2) Plaintiff contacted the director and emailed her a doctors note. (3)




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Plaintiff was never instructed who to correspond with, (4) The director then did not inform the

supervisor in geography that Plaintiff was out due to illness. (5) The supervisor in geography

emailed Plaintiff at home and asked why she has not called in to the office. (6) Plaintiff also

called the director, both days November 1st and 2nd to inform her she was sick with PTSD

symptoms, (7) On the phone call plaintiff asked the director how she can get a performance

evaluation with no accommodation in recruiting before, she informed the director that she was

not given a copy of the performance evaluation to read but was asked to sign it.      (8) The director

did not respond to this complaint. (9) This action demonstrates retaliation for Plaintiff engaging

in protected activities.




45. (1) Plaintiff sent an email October 31st, 2018, to employees complaining about harassment,

police being called, continued discrimination and reported EEO activity, and further complained

to staff about treatment she had faced in the office. (2) A staff member forwarded the email to

the director Rosa Estrada, according to his facebook video he made November 6th, 2018. (3)

November 1st, 2018, the director sent an email waming plaintiff that she would take action

against plaintiff is she didn't stop, not to talk about her circumstances. (4) Plaintiff didn't receive

this email until she returned to work on or about November 6th, 2018. (5) This action

demonstrates retaliation for Plaintiff engaging in protected activities.

46.   (1)   November 6th,2018, Plaintiff complained again about not having any work

assignments and having her work task taken away to the director who is the accommodation

deciding official. (2) Before October 29th, Plaintiff worked on 10- 30 tasks at a time and often

worked overtime and weekends, on projects from many areas besides recruiting even without




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task training. (3) November 6th, 2418, Plaintiff proceeds to file an EEO complaint for

discrimination after not recieving any work task assignments and having complaints about

accomidation ignored. (4) Plaintiff contacted the EEO of{ice to initiate a second EEO complaint.

(5) After plaintiff contacted the EEO office the director called plaintiff on the phone demanding

Plaintiff come to her office. (6) Plaintiff was having anxiety symptoms due to filing a complaint

and the director had a harsh tone. Plaintiff stated now is not a good time and wanted to take a

break due to anxiety. (7) The director further reprimanded Plaintiff for not coming to her office

stating she only gets two fifteen minute breaks. Further, Plaintiff had to tell the director it was a

part of the approved accommodation to receive a break when she was having symptoms.

Plaintiff had to then contact the HR coordinator Melissa to have her contact the director to get a

break.   (8)   The director responded with a follow email tagging the EEO official, HR staff, and

Plaintiff stating she is providing accommodation and that she called Plaintiff because she only

wanted to give Plaintiff a copy of a training schedule she should have received July 2018 when

she started of orientation trainings, she did attach them and they were blank.       (9)   She could

easily have emailed it anytime before that without calling Plaintiff to her office, but did not. (10)

Plaintiff was fearful the director was trying to call police on her again to harass her, increasing

her cognitive symptoms. (11) Further Defendant ignored complaint about accommodations

provided. (12) This action demonstrates retaliation for Plaintiff engaging in protected activities.



47. November 8th, 2018 (1) Plaintiff was permitted to go to the EAP at the end of the day

during her tour of duty, (2) the EAP counselor had recommended working in a remote position

as an accommodation since the management called the police on Plaintiff,              (3) the EAP



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counselor stated if Plaintiff felt unsafe to have a safety plan. (4)The director was informed of this

by email and Plaintiff requested remote work as an accommodation, (s)The director ignored this

request. (6) This action demonstrates retaliation for Plaintiff engaging in protected activities.



48. November 13th, 2018 (1) after asking repeatedly to attend the EAP appointment that was

requested in advance for November 13th, 2018, and (2) the director would NOT approve it or let

Plaintiff attend her appointment (3) the director then completely stopped all correspondence with

Plaintiff and never communicated with Plaintiff again during employment at the Census, plaintiff

viewed this as constructive discharge. (4) This action demonstrates retaliation for Plaintiff

engaging in protected activities.



49. The Defendant, staff, managers, failed to respond to complaints about accommodation and

to address complaints, and to take action to corect accommodations. This action demonstrates

retaliation for Plaintiff engaging in protected activities.



50. (1) The defendants, staff, managers, failed to report prohibited harassment, investigate it, or

to take corrective action, when plaintiff brought it to their attention (e.9. facebook posting and

police being called to the office). (2) Agency staff and management did not report complaints of

harassment made by Plaintiff that state agency managers called police on her in the office

October 10th, 2018. (3) Further, no investigation nor did they address plaintiffs concerns,

making Plaintiff feel fearful for her safety at work. (4) Management used police to intimidate

plaintiff for participating in protected activities. (5) This action demonstrates retaliation for




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Plaintiff engaging in protected activities. Plaintiff has direct evidence from the ROI declarations

and emails. (See statements made to EEO investigator about Police being called to office by

Rosa Estrada, Marilyn Sanders, and Alicia Daniels, video of HR callwith Plaintiff in 2019).



51. (1) Rather than respond to plaintiffs concerns November 13th,20{8 request to see the

EAP, that point in time fonruard there was no correspondence or communication with plaintiff to

answer her questions, complaints, concerns, or requests for new accommodation.            (2)   Plaintiff

asked then to see and receive a copy of her personnel file and later after leaving the Census

she even requested a FOIA request on multiple occasions, both before resignation and after

resignation and have not received a copy, other questions related to plaintiffs employment,

accommodation requests on November 8th, 2018 for remote work have not been answered. (4)

Plaintiff has also made FOIA request for supportive evidence of plaintiffs experience for dates

reflected in this complaint including, emails, HR investigations, surveillance video, recorded

calls, these items have still not be fulfilled. (3) The non fulfillment of FOIA request in this action

demonstrates retaliation for Plaintiff engaging in protected activities.



52. Conclusively, the defendant did failed to engage in the interactive accommodation process

during Plaintiffs employment entirely, but rather than providing adequate accommodations

subjected plaintiff   to prohibited harassment and desperate treatment in retaliation for          EEO

activity, and subjected plaintiff to forced constructive discharge for having disability (PTSD,

Anxiety Disorder, ADHD), and for her religion (lslam/ Muslim) wearing a muslim "woman's"

headscarf. Agency officials comment        in   investigation reports about plaintiffs being muslim




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frequently while answering questions that indicate their actions are based on religious identity

and plaintiffs faith. This action demonstrates retaliation for Plaintiff engaging in       protected

activities.



53. (1) Plaintiff since March 2019 has applied to many positions and requested mediation to

reinstate plaintiff in a remote position in which Plaintiff qualifies for that is located out of a

different regional office. (2) The agency canceled 6 of the applications plaintiff applied ot on

USA jobs under nefarious terms on the same day she received the agencies second ROI June

14, 2018. (3) Plaintiff had requested an update to her accommodation request                     and

reinstatement request and has not received an answer other than from Barbara Toy who states

that the agency has not responded. (4) Plaintiff contacted agency Schedule A staff and asked

for assistance and more information on how to apply for jobs or if she can get assistance for

jobs and explained her experience at the agency with USAJobs and EEO activity, plaintiff has

not received a response. The Census needs around 500,000 employees to conduct the 2020

Decennial, the Plaintiff qualifies for most of the positions available" (5) Agency staff further have

ignored request for further assistance for applying for jobs on USAjobs nor provided information

on the Schedule A program. (6)This action demonstrates retaliation for Plaintiff engaging in

protected activities. Plaintiff did make a video to document the 6 canceled applications that were

canceled by the agency staff on 611412018 the same day she received her second ROl. Further,

in violation of the ADA and Rehabilitation Act Section(s), 501, 504, and 508, which will create

Desperate Treatment and Disparate lmpact when they bypass laws and regulations that make it

harder for disabled individuals access to applying. (7) Further, the agency has no desire to




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engage in EEO activity to resolve violations of TITLE Vll, ADA, the Rehabilitation with plaintiff

and have demonstrated exhausting administrative duty to resolve through the EEO process by

ignoring plaintiffs requests for assistance and request for reinstatement, for a remote position

located from another office, when they need to hire 500,000 staff members. (8) The 2010

Decennial at the same time now ten years ago had already fully hired 65,000 employees while

the agency today June 2019 has only hired around 3,000 to conduct the decennial meaning

they are currently understaffed as well, the economy has a low unemployment rate making it

harder   to   recruit qualified candidates. Meaning they are deliberarly opposed         to hiring   a

AMERICAN MUSLIM woman in headscards and disabled individual. (9) Side fact, Plaintiff

despite being disabled has a higher level education in the field of social science research than

most of the management staff and is highly qualified for jobs. ('10) Plaintiff has tried to request

assistance in applying and information on the Schedule A Program June 2019 since she had

never been provided this information and still has not received an answer from management or

agency staff contacted.

                             COUNT VI & COUNT VII
               NO FEAR ACT VIOLATION FOR PROTECTED ACTIVITIES
          INSPECTOR GENERAL ACT VIOLATION FOR PROTECTED ACTIVITIES

54. Plaintiff believes that management staff called police on Plaintiff in partial motivation        in

retaliation because plaintiff reported    in late September 2018 and October 2nd. 2018. the
prohibited hiring practices to the lnspector General and various other offices; and the Plaintiff

also reported when police were called on plaintiff to the Office of lnspector Generalon October

10, 2018. They did not EVER investigate this matter, but ignored the reports and complaints by

plaintiff. The defendant's   staff   wanted to interfere with plaintiffs' participation in protected




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activities and to interfere with plaintiffs ability to do her job. Plaintiff reported prohibited hiring

practices to the Office of lnspector General and she also reported the police being called on her

to the Office of lnspector General after asking for an update to her accommodation request and

in the same time frame reporting prohibited hiring practices. Further, plaintiff experienced this

retaliation for engaging in protected activities and agency ignored complaints.

                                              couNT       vil
                            THE FIRST AMENDMENT. AMENDMENT                 I


(1) Defendents adverse actions were in part protests to religious expression of plaintiffs very

open and public expression identifying as a muslim follower of lslam beliefs of assiciaton by

faith due to wearing a muslim headscarf. many instances throughout her attempts to get hired

she mentioned she was muslim and also worked wearing a headscarf in public. (2) ln addition to

violating other statues mentioned         in this   complaint, defendents stated      in the second
investigation of the EEO office, with repeated negative toned remarks or objections to plaintiff

being openly muslim and also being openly muslim wearing a headscarf, rather than answering

questions.   lt is pretextual to violation of the first   amendment when they subjected plaintiff to

adverse conditions because of public religious identity, expression, association thereof, and

religious practice, which violates the first amendment. (3)The government nor representative

shall make any laws or policy prohibiting religious expression or practice or favor one religion

over another. (4) All management staff and those stated in this complaint that identified as

Christians, including the director was also very open about being a Christian Pastor, One

manager named Kazeem converted to Christianity from lslam and was hired on as a manager

and was very open about this fact in the breakroom when telling Plaintiff his religious views and

conversion story, infront    of many of the management staff and he did not face              adverse




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conditons and all other staff hired predominantly was also Christian. (5) The management staff

and subordinate staff in the office are all predominantly Christians were not subjected to the

same treatment as plaintiff nor faced adverse conditions. (6) This defrintial treatement faced by

plaintiff and prefrential treatment for Christians has an economicly negative impact on the
plaintiff and for muslim women in general when they cannot enjoy live, liberty, and the persuit of

happiness according to civil rights, as a whole if they are not able to practice their faith in public

subjecting them to    a life of poverty. (7) Further management of the Census           especially the

directors set the negative tone of exclusion during the Plaintiffs employment seeking process,

employment, and afterwards, that infers defendants management did not want plaintiff

respected, tolerated, included, visible, heard, to enjoy equal opportunities, or an included

participant due to her very public expression of religion wearing a headscarf. (8) These actions

are a direct violation for a government official(s) of the first amendment, this was done by

ignoring plaintiffs requests for accommodation, ignoring questions about adverse conditions,

ignoring harassment, by calling police       in plaintiff, by not providing the personnel file as
requested, not providing the personnel file even after making FOIA requests, and the agency

has not fulfilling FOIA requests for plaintiff. (9) Adverse conditions Plaintiff faced, translates into

officers of the government violating the flrst amendment in favor of one religion over the other.

With their animous working to promoting one type religion over another, and to deny rights to

others of other religions in this case "islam/muslims/wearing a headscarf'and public associaiton

with the faith. (10) Plaintiff believes that FOIA request will identify this when emails are received

because when talking with her supervisor about diversity, recruitment planning, and participation

rates with a supervisor stated "Her and Mrs. Sanders follows the orders of Wilbur Ross", she




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stated this in objection to my ideas on how to recruit more language speakers from marginalized

communities. Plaintiff believes her supervisor stated this after Plaintiff was questioned Plaintiffs

husband nationality and backstory, and           when    Plaintiff told defendants staff was an arab

immigrant. (11) Plaintifi has been subjected             to   economic hardship from this ongoing

discrimination due to her public expression and her identifiting as a muslim. The government in

violation of the first admendment rights, in this practice and in policy is preventing qualified

disabled individuals and a qualified muslim woman who wears a headscarfs to fully participate

in economic life stated in the Fourteenth admendment; these adverse conditions cannot be

tolerated   in policy or practice by the United State          government, by its agencies, or staff

members.

                                            RELIEF DEMAND

WHEREFORE, Plaintiff, Candace Metcalf demands judgment against the Defendants, in an

amount which will compensate her for:

1. Violation of her rights under Title   Vll of the Civil Rights Act of 1964;

2. Violations of her rights under the Americans with Disabilities Act of 1990, as codified, 42 U.S.

Code sec 12101; 42 U.S.C. sec 12111 to 12117, and sections 501, 504,505, and 508 of the

Rehabilitation Act of 1973.

3. Violations of her rights under Whistleblower Protections Federal Anti-Discrimination         and

Retaliation Act (No FEAR Act) took effect, Pub. L. No. 107-174; Section 205 of the No FEAR

Act, neither the Act nor this notice creates, expands or reduces any rights otherwise available to

any employee, former employee or applicant under the laws of the United States, including the

provisions of law specified in 5 U.S.C. 2302(d). Retaliation against an employee or applicant for




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making a protected disclosure is prohibited by 5 U.S.C. S 2301;5 U.S.C.2302(b) (8);5 CFR             S


724.101; 5 CFR $ 724.102;5 CFR $ 724.103; 5 CFR 5724.104 about prohibited hiring practice

under 5 U.S. Code sec 2302.

4. Violations of her rights under the lnspector General Act (5 USC Appendix 3, sec. 7) that
prohibits reprisal against any employee for making a complaint or disclosing information to an

lnspector General.

5. Violations of the First Amendment- Amendment I stating the government shall make no law

respecting an establishment of religion, or prohibiting the free exercise thereof; or abridging the

freedom of speech/expression and they right to petition the government for             a   redress of

grievances. Plaintiff had every right        to   implicit association and the right to association,

expression in public of faith and public display of her belief.

6. Compensatory damages including lost wages, past and future and/or impairment of power to

earn money; physical pain, emotional distress and humiliation, past and future; and past and

future medical expenses;

7. Punitive damages to punish the Defendant for its willful, wanton, oppressive,malicious, and/or

grossly negligent conduct;

8. Reinstatement to a       remote job position      in a different region with other staff, and   full

accommodations for disability and religion. And a permanent injunction against future acts of

discrimination and harassment against Plaintiff by Census Office Management staff;

9. Trial by jury on all issues so triable;

10. Costs expended herein, including reasonable attorneys'fees;

11. Pre-judgment and post-judgment interest; and




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12. Any and all other relief to which she may be entitled; with full accommodation for her

disability and religion.

                                     EVIDENCE STATEMENT

Ptaintiff does have direct video evidence, in addition to emails and documents. Plaintiff believes

human rights, civil rights, are more important than protecting employers who disciminate. lf no

one is allowed to collect evidence in the process of their being discriminated against, well no

one witt change their illegal hiring practices or discriminatory practices, even the agency hired

the Plaintiff after knowledge of first recording, recordings are stictly evidence of complaint and

used only   for protected activity of reporting violations of federal employment laws including Title

Vtt, the ADA, and the Rehabilitation Act. Videos have only been shared with attomeys while

seeking legal counsel and with the agency at this time. Video evidence is mostly recording of

the online web application.



                                                                    Respectfu lly   su   bmitted,

                                                                          h.FT
                                                                        s/Candace Metcalf
                                                                        PRO SE (#)
                                                                        5718 West 106th Street #2W
                                                                        Chicago Ridge, lL, 60415
                                                                        (708)789-3691
                                                                        c.m.d. metcalf@gmail.com
                                   CERTIFICATE OF SERVICE

I hereby certify that on   m" QV day of                    I   filed the foregoing with the Clerk of the
                                              1*1#'t9,
         which will send a notice to the following: Department of Commerce Representative for the
Court,
Census Bureau     .


                                                                         s/Candace Metcalf
                                                                           Candace Metcalf




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Sender:             c.m.d.metcalf@gmai l.com
Sent Dateffime: Mon, I Jul2019 12:35:54 -0500
Received Date/Time: 201 9.07.08 1 0:36: 16
$ubject             Fwd: Follow-Up EEO Mediation:Metcalf
Attached files:



         Forwarded message
From: C. Pr. <c.m.d.metcalf@smeil.c >
Date: Mon, Jul 8, 2019, 12:32 PM
Subject: Re: Follow-Up EEO Mediation: Metcalf
To: Toy, Barbara L (Federal) <BToy@dgc.gov>


Barbara L,

I figured              I have not received a response now when I inquired about March of 2019 and
            as much that
have not heard anything back. As much, I also applied to several jobs which were remote and I
qualified for they had canceled them all in one day on me. So it looks as if they are pretty dedicated to
not considering me for employment. I just graduated with my masters and have a great work history
so   it is unfortunate really^ Thanks for your help.

Kind regards
Candace Metcalf




On Mon, Jul 8, 2019, 10:40 AM Toy, BafiaraL (Federal) <BlgJ-@doc8gy> wrote:

     Good morning Ms. Metcalf,
'


    The agenry informed me that they are not interested in mediating your workplace concerns at
    this time.



    Regards,



    Barbara Toy

    ADR Manager

    Client Services and Resolution Division

    Office of Civil Rights




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 242.482.8L93




 From: C. M. <c.m.d.metcalf@email.e
 Sent: Tuesday, May 14,2019 6:18 PM
 To: Toy, Barbara L (Federal) <EI-Ay@dqs-gov>
 Subject: Re: Follow-Up EEO Mediation: Metcalf



 Barbara L




, Have you received any responses yet?? With request from mediation to be reintsated to a job in
, another location or work from home "remote position" as an aocomidation, which I qualifu fofl    It
: has been now over a month since contacting your offrce.



: Thankyou

. Candace Metcalf



 On Sun, Apr 28, 2019,4:49 PM C. M. <c.m.d.metcalf@smai1. > wrote:

  , Barbara L,



   Thank you for your response, I truly appreciate your assistance in this matter.



   Kind regards

   Candace Metcalf




   On Sun, Apr 28, 2019,2:19 PM Toy, Barbara L (Federal) <EToy@doc,gov> wrote:

      Ms. Metcalf,




                                                 -2-
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I sent your mediation request to the agency, but I have not received   a response   yet. I will
follow up and provide you with    a response as soon as possible.




Thank you,



Barbara Toy




From: C. M. <c.m.d.metcalf@,gmail.com>
Sent: Saturday, April 27,2019 9:30 PM
To: Toy, Barbara L (Federal) <BToy@doc.gov>; Zanelofrr, Sandra L (Federal)
<sZanelot@doc.sov>
Subjec* Fwd: Follow-Up EEO Mediation: Metcalf



Barbara L and Sandra L,



I have not heard back from you regarding a reinstatement to a possible position that I qualify
for in another location not located in the Chicago region (preferably Washington DC). I have
applied to many positions so far and some have stated they didn't have by degree on file even
when it was a part of the application sent in, I deleted and tried to update my application then it
stated another default message immediately afterwards stating I did not qualify. However I
have applied to many positions.



Barbara when we spoke last you stated that you would get back to me within a week and I still
have not heard from you. Please let me know what was the decision? If I could get an
accommodation working from home or remotely that would be great then I won't have to deal
with harassment when others (hate muslims or muslim women in headscarves) or disability
harassment, discrimination, ableism or other types of unwarranted behavior.



As well, I have had the EAP try to contact me a few times from February 2019 to April 2019,I
think around 3 times, I have called back and left messages each time but no one calls back in a
timely manner. As well I am going to start seeing my doctors again hopefully once I get
insur&nce, since working at the Census it has disrupted by health care and counselling and I
truly would appreciate you asking for me as the mediator if I can still get these services or not?
I am not sure what ttrey want when they call they just state they are from EAP and want to
follow-up on my experience and leave a message they called.



                                             -J-
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 Also, I requested my personnel file multiple times, can you please get me a copy of this?



 I have attached my degree and writing samples, examples of my work etc from my Masters
 Degree, Bachelors Degree, transcripts, letters of recommendation. As well I graduated in Fall
 of 2018 with a masters in sociology and 3.5 GPA-- hence the reason I applied for the clerk job
 at the Census to begin with and the great experience I had at the NORC @ the University of
 Chicago, the federal program I did with USAID VSFS, and Americorps VISTA.




 Kind Regards,

 Candace Metcalf




 -------   Forwarded message
  From: Toy, Barbara L {Federa[ <ETgy@dggggv>
, Date. Wed, Apr 3,2019 at 6:56 AM
  Subject: RE: Follow-Up EEO Mediation: Metcalf
  To: C. M <c.m,d.metcalf@g[all.c >



 Acknowledged



 F'rom: C. M. <c.m.d.metcalf@email.c
 Senfi Tuesday, April 2,2019 9:25 PM
 To: Toy, Barbara L (Federal) <BTgy@doc€gv>; Zanelotti, Sandra L (Federal)
 <szanelpt@dqc.gov>
 Subjec* Follow-Up EEO Mediation: Metcalf



  Barbara,



 I was able to apply to these positions. I would prefer if they would consider me for this
 position Announcement ttlumber: ADDC-2019-ffi$, Survey Shtistcian, GG-1530-14,0ensus-DOC-TG,
 LocaH in Washingfton Navy Yad, DC, US or Suitland. MD, US. It is open to bbwork and I am able to work fiom
 hune*peftrably*so nd to encounter the same types of diffio.rlties wiBr discrimlnatbn for nry being Muslim and



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ftom Ty PTSD hsrcs (I can conskler this an mcornmffitbn). Howerrer, if Srey pleEr I am qan to working from
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this posiuon with all tfie educatkrnal requirernents and work oeerience necessary.

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  retsvmflrru I nptO-&jnum= 1 I 953 8&oreld=3 )




Kind regards,



CandaceMetmlf,

Masters of Sociology 2018

Sam Houston State University

708j89.369t




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F&
Ed     Candace proposal final draft with edits l{}.docx




Bffi
kd 2017-0826 Gandace Metcalf Lctter of Recommendati...




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 ffisriee=l.ggg,tps




Best regards,



CandaceMetcalf,,

Masters of Sociology 2018

Sam Houston State University

708.789.3691

Catch me-o;n twittpil




"I beliwe that order b better thanchaos, eeationbetter thart destruction. I prefer
ge,ntleness to uiolence,forgiueness fo uendetta. Onthewhole I thinkknowledgeis
preferobte to igrwranee, and I am swe lutman Wm:pattry is more ualuable than
ideology."

-Leo Tolstoy


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